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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



ROQUE “ROCKY” DE LA FUENTE
GUERRA,

                  Plaintiff,

v.                                             CASE NO. 4:16cv196-RH/CAS

STATE OF FLORIDA and
FLORIDA SECRETARY OF STATE,

                  Defendant.

____________________________________/


               ORDER TO SHOW CAUSE WHY THE CASE SHOULD
               NOT BE DISMISSED FOR FAILURE TO PROSECUTE


         The defendant has filed a unilateral Federal Rule of Civil Procedure 26(f)

report indicating that the plaintiff has not participated in a 26(f) attorney

conference and has not responded to the defendant’s efforts to arrange a

conference. The unilateral report also includes assertions that, if true, call into

question the plaintiff’s compliance with Federal Rule of Civil Procedure 11.

         Compliance with Rules 11 and 26(f) and with the Initial Scheduling Order,

ECF No. 7, is mandatory, not optional. If the plaintiff wishes to continue with the

case, he must comply with the rules. This order gives the plaintiff an opportunity

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to respond to the allegation that he has not complied with Rule 26(f) and the Initial

Scheduling Order. If the plaintiff does not respond by the deadline, the case will

be dismissed.

         For these reasons,

         IT IS ORDERED:

         The plaintiff must show cause by July 14, 2016, why this case should not be

dismissed for failure to prosecute and for failure to comply with Federal Rule of

Civil Procedure 26(f) and the Initial Scheduling Order. Any response to this order

must either (a) explicitly abandon the case or (b) indicate that the plaintiff intends

to go forward and to comply with the rules.

         SO ORDERED on June 26, 2016.

                                        s/Robert L. Hinkle
                                        United States District Judge




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